           FIRST DISTRICT COURT OF APPEAL
                  STATE OF FLORIDA
                  _____________________________

                         No. 1D2022-3231
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THURSTON MCBRIDE,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
                  _____________________________


On appeal from the Circuit Court for Leon County.
Joshua M. Hawkes, Judge.

                          August 21, 2024


ROWE, J.

    Thurston “Michael” McBride appeals his judgment and
sentence for capital sexual battery. * He argues that the trial court


    * The State filed a notice of cross-appeal, raising two claims of

error, but failed to brief the issues. Thus, the claims are
abandoned. See Rosier v. State, 276 So. 3d 403, 406 (Fla. 1st DCA
2019) (“[I]ssues not raised in the initial brief are considered waived
or abandoned.”); Polyglycoat Corp. v. Hirsch Distribs., Inc., 442 So.
2d 958, 960 (Fla. 4th DCA 1983) (“When points, positions, facts and
supporting authorities are omitted from the brief, a court is
entitled to believe that such are waived, abandoned, or deemed by
counsel to be unworthy.”).
reversibly erred in denying his motion for new trial, asserting that
the court applied the wrong standard when considering the motion
and that the court abused its discretion when it found that the
verdict was supported by the weight of the evidence. Finding no
error by the trial court, we affirm.

                               Facts

     McBride was charged in 2012 with one count capital sexual
battery after the victim, PL, told his mother that McBride raped
him when he was five years old. At the time PL alleges the rape
happened, McBride was married to PL’s godmother. PL lived with
his godmother from infancy until age nine, while his mother
battled drug addiction. When he was in kindergarten, PL’s teacher
showed his mother a picture PL had drawn depicting a man’s penis
pointed at the bottom of another’s rectum.

    Later, when he was eleven, PL’s principal called his mother to
report that PL wrote a suicide note during class. PL wrote that he
wanted to kill himself and planned to do so that night. The
principal alerted child protective services and the child protection
team (CPT). A CPT investigator spoke with PL and, after ensuring
he was not a risk to himself, gave PL’s mother a card with her
phone number, instructing her to reach out to the team if needed.

     A few days later, PL told his mother that he again felt that he
wanted to kill himself. His mother asked PL what caused these
feelings. PL cried and seemed reluctant to tell her. Once his
mother assured him that he was safe and could tell her anything,
PL revealed that McBride raped him when he was five. His mother
called the same CPT investigator she met with at the school days
before. The investigator asked her to bring PL in for a recorded
interview. During the interview, PL told the investigator that one
night when he was five years old, McBride became angry with him
for falling asleep in the bathtub. McBride yelled at PL, spanked
him, and told him to go to his room. PL stated that McBride later
entered the room, shut the door, and raped him. PL asserted that
everyone was home and heard him scream during the attack. PL
asserted that his godsister broke into the room and confronted
McBride. PL told investigators that this was the only time McBride


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ever sexually abused him. Soon after the rape, McBride left the
home and PL never saw him again.

     The case went to trial. The State presented testimony from
PL, his mother, his teacher, his principal, and the CPT
interviewer. The State also introduced a recording of the CPT’s
forensic interview with PL. The defense presented testimony from
PL’s godmother, his godsister, and McBride.

     PL, then thirteen, testified about the rape and the emotional
trauma he suffered. PL testified that because of the trauma, he
skipped school for weeks while he was in kindergarten. PL also
testified that before the rape, McBride often physically abused
him. PL stated that he sustained injuries from the physical abuse
that required hospitalization.

     PL’s mother testified that she did not know McBride when she
first put PL in his godmother’s care. She asserted that she knew
something was going on with PL while he was still living with his
godmother but did not know about any abuse or the rape. The first
time she learned of the rape was after PL’s suicide note when he
was eleven years old.

     PL’s godmother and godsister denied knowing about physical
or sexual abuse. PL’s godsister denied ever breaking into the room
or that she confronted McBride. She asserted that she would have
removed PL from the house and called law enforcement if she
discovered any abuse. And that she felt PL would have told her
about the rape or any other abuse.

     The jury found McBride guilty of capital sexual battery and
the trial court sentenced him to life in prison. On direct appeal,
this court affirmed McBride’s judgment and sentence. McBride v.
State, 123 So. 3d 564 (Fla. 1st DCA 2013) (unpublished table
decision). McBride then moved for postconviction relief under
Florida Rule of Criminal Procedure 3.850. McBride alleged that his
trial counsel was ineffective for failing to investigate and introduce
PL’s school attendance records. McBride asserted that the records
would have impeached PL’s testimony that he missed weeks of
school during his kindergarten year, calling his credibility into
question. The trial court denied the postconviction motion. On

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appeal, this court reversed and remanded for a new trial. McBride
v. State, 252 So. 3d 389, 392–93 (Fla. 1st DCA 2018).

     At the second trial, the trial court allowed the defense to
introduce PL’s school attendance records into evidence. The
records showed that, at most, PL missed one to three days of school
during each school quarter between kindergarten through second
grade.

     The State presented testimony from PL, his mother, his
teacher, his principal, and the CPT interviewer. The defense
presented testimony from PL’s godmother and godsister. McBride
did not testify at his second trial. The trial court excluded PL’s CPT
interview from the second trial, finding that the methods used in
the interview were not reliable. And that because PL was now an
adult and planned to testify, the recording was not necessary.

     PL’s mother testified that she first learned of the rape when
PL was in kindergarten, and then again when he was eleven. After
being shown her testimony from the first trial, she asserted that
she chose to report the rape the second time because PL was then
in her custody, and she could do something to help him.

    PL, then twenty-three years old, testified again about the
rape. PL testified that McBride anally penetrated him with his
penis. PL testified that he felt pain and wanted McBride to stop.

     Some of PL’s testimony at the second trial was internally
inconsistent and contradicted statements he made at the first trial,
twelve years earlier. For example, contrary to his testimony at the
first trial, PL denied skipping school or going to the hospital. PL
explained at the second trial that he would ask to go to the
bathroom during class and then hide in the bathroom for extended
periods of time, and that he mischaracterized this as skipping
school in his CPT interview.

     PL recalled getting in trouble in kindergarten for drawing a
picture of an erect penis but could not explain why he drew it. He
could not recall whether he was clothed when McBride entered the
room. He could not recall if he screamed or if his face was in a
pillow. PL maintained that his godsister broke into the room and

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confronted McBride. PL denied ever telling his mother about the
rape before age eleven.

     Defense counsel confronted PL with his past contradictory
testimony and with his school attendance records. PL asserted
that he did not recall testifying at the first trial. When offered
transcript excerpts to refresh his memory, PL refused to read his
prior statements. PL stated that he could now only remember the
“big picture” details of the rape.

     PL’s godsister also testified. She denied knowledge of any
sexual abuse. She was in high school at the time, and often cared
for PL at home after school. She testified that she never broke into
the room to confront McBride or to get him away from PL. She
stated that she would have reported any abuse to the police.

     PL’s former teacher and principal also testified. His teacher
recalled that the day she found the suicide note. PL was withdrawn
until he disrupted class by throwing balls of wadded paper toward
her. In one of these paper wads was a note saying that PL intended
to kill himself that night. She immediately took PL to the
principal, who then called child protective services and his mother.
The principal testified that PL cried during his conversation with
her, which was unusual behavior for PL.

     The jury again found McBride guilty of capital sexual battery.
The court sentenced McBride to life in prison and designated him
a sexual predator.

     McBride moved for a new trial, alleging that the jury’s verdict
was against the greater weight of the evidence and could be
reached only by disregarding inconsistent testimony. McBride
argued that all other testimony contradicted PL’s past and present
statements. PL’s testimony conflicted with his mother’s
statements about when she learned of the rape. His godsister
maintained that she never entered the room while McBride raped
PL. McBride argued that PL’s testimony was also internally
inconsistent. Taken together, these inconsistencies constituted
impeachment evidence against PL. And because the case hinged
solely on the credibility of PL, the jury could not have reached a
guilty verdict without disregarding the evidence.

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     The State argued that PL’s recollection of the rape was
corroborated by the testimony of his principal and teacher about
his withdrawn demeanor, class disruptions, and suicide note. And
that any inconsistencies stemmed from PL testifying eighteen
years after the rape. These inconsistencies did not mean PL was
not credible.

    At the hearing on the new trial motion, the court commented
on its role as the “seventh juror” and raised questions on the
applicable standard of review:

    [A]ll that to say, I don’t get a good feel for the weight test,
    I mean, other than, I’m an additional juror.

    [I]t would seem like sufficiency is a higher burden under
    [the weight test], so sufficiency is enough to show the
    prosecution—well, legally insufficient means the
    prosecution failed to prove the defendant’s guilt beyond a
    reasonable doubt. So sufficient means it can support a
    verdict beyond a reasonable doubt but weight means
    there’s not enough for preponderance, which, to me, kind
    of reverses the burden. I don’t know.

After a dialogue with counsel at the hearing, the court allowed
McBride to submit additional written arguments on the applicable
standard. Two weeks later, the trial court entered a written order
denying McBride’s motion for new trial.

     The court found PL’s testimony credible and that the evidence
was “weighty enough” to support the verdict. That PL’s testimony
was emotional and coherent with respect to the details of the rape.
And that PL had no obvious motive or bias to fabricate the
allegations against McBride. The trial court concluded that PL’s
school attendance records and the conflicting testimony from other
witnesses did not sufficiently undermine the credibility of PL’s
testimony. This appeal follows.

                              Analysis



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    McBride argues that the trial court reversibly erred in
denying the motion for new trial. He asserts that the trial court’s
comments during the motion hearing show that the court failed to
apply the correct legal standard when considering the new trial
motion. And, even if the trial court applied the correct standard,
McBride argues that the court abused its discretion by denying the
motion because no reasonable person would find PL’s testimony
credible.

     This court reviews de novo whether the trial court applied the
correct legal standard ruling on a motion for new trial. Jordan v.
State, 244 So. 3d 1178, 1179 (Fla. 1st DCA 2018). We review the
court’s ruling for abuse of discretion. Id.
     We find no error here. Although the trial court raised
questions at the hearing about the applicable standard for ruling
on a motion for new trial, the court’s written order clearly and
unambiguously applies the correct legal standard. When
considering a motion for a new trial, a trial court must act as the
“seventh juror” to find whether the verdict is contrary to the weight
of the evidence, and ”whether a greater amount of credibe evidence
supports an acquittal.” State v. Bohler, 263 So. 3d 291, 293 (Fla.
1st DCA 2019); Bell v. State, 248 So. 3d 208, 209 (Fla. 1st DCA
2018); Tibbs v. State, 397 So. 2d 1120, 1123 n.9 (Fla. 1982) (“Rule
3.600(a)(2) thus enables the trial judge to weigh the evidence and
determine the credibility of witnesses so as to act, in effect, as an
additional juror.”).

     The trial court, in considering the new trial motion, cited and
evaluated the very authorities cited above: Bohler, Bell, and Tibbs.
The court’s written order reflects it applied the required standard
precisely. The trial court weighed the evidence as a juror would
and found that PL was a credible witness. The trial court found
that PL had no motive to fabricate his testimony about the rape.
The trial court noted—unlike other cases—that there was no
confusion or mistake in identification. The trial court found that
PL’s inconsistencies on details surrounding the rape and abuse
(his school attendance, whether he was hospitalized for other
physical abuse, and so on) did not undermine PL’s coherent and
emotional trial testimony recounting the sexual battery committed
by McBride.

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     After citing the correct legal standard, the trial court
concluded that the evidence proffered was “weighty enough” to
support the guilty verdict. The court’s findings and analysis show
that the trial court correctly assessed whether the verdict was
against the weight of the evidence. See Jordan, 244 So. 3d at 1179(“[A] trial court is not required to use ‘magic words’ when ruling on
a motion for a new trial[.]”) (citing Palmer v. State, 192 So. 3d 1289(Fla. 1st DCA 2016)); . . . . ”); see also Daniels v. State, 313 So. 3d
247, 253 (Fla. 1st DCA 2021) (“Here, the trial court emphasized
that it acted as another juror when it considered whether the jury’s
verdict was contrary to the weight of the evidence. Thus, the court
used the correct standard . . . . ”).

     But McBride maintains that even if the trial court applied the
correct legal standard, the trial court abused its discretion in
denying the new trial motion. We disagree.

      The decision to grant or deny a motion for a new trial is within
the trial court’s discretion and is entitled to a presumption of
correctness. See State v. Spaziano, 692 So. 2d 174, 177 (Fla. 1997);
Mitchell v. Burgess &amp; Cook, Inc., 238 So. 2d 460, 461 (Fla. 1st DCA
1970); Moreland v. State, 253 So. 3d 1245, 1247 (Fla. 1st DCA
2018) (“[R]easonable inferences and deductions must be taken in a
manner favorable to affirming a trial court’s ruling, not reversing
it.”). An appellate court will find error in a trial court’s denial of a
new trial only when no reasonable person would adopt the same
view as the trial court. Stephens v. State, 787 So. 2d 747, 754 (Fla.
2001). Or if there is error that is “clear and patent on the record.”
Allstate Ins. Co. v. Wood, 535 So. 2d 699, 700 (Fla. 1st DCA 1988)
(citing Johnny Roberts, Inc. v. Owens, 168 So. 2d 89 (Fla. 2d DCA
1964)). We find no such error here.

     The trial court found PL’s detailed testimony about the sexual
battery to be credible and that the weight of the evidence
supported the jury’s verdict. PL’s former teacher and principal
corroborated PL’s testimony about being withdrawn and acting out
in school in the years after the rape. PL drew explicit images of a
man’s penis and a rectum while still in kindergarten—the same
year that PL testified McBride raped him. When he was eleven, PL
experienced suicidal ideation. PL’s godmother and godsister

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corroborated that McBride was kicked out of the home around the
time PL alleges he was raped.

     The trial court, sitting as the “seventh juror” determined that
conflicts in PL’s statements and testimony, and conflicting
testimony from the defense’s witnesses were not sufficient to
undermine all other evidence presented. This court will not disturb
that determination. See Looney v. State, 941 So. 2d 1017, 1023––
24 (Fla. 2006) (holding that the trial court’s credibility
determination will not be disturbed on appeal); M.A.B. v. Dep’t of
Health &amp; Rehab. Servs., 630 So. 2d 1252, 1254 (Fla. 1st DCA 1994)
(same); Porter v. State, 788 So. 2d 917, 923 (Fla. 2001) (noting that
a trial court has a “superior vantage point in assessing the
credibility of witnesses”).

    Because the trial court did not err in denying the motion for
new trial, we AFFIRM McBride’s judgment and sentence.

LEWIS and M.K. THOMAS, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Rachael E. Reese of O’Brien Hatfield Reese, P.A., Tampa, for
Appellant.

Ashley Moody, Attorney General, and Virginia Chester Harris,
Senior Assistant Attorney General, Tallahassee, for Appellee.




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